Case 2:07-cr-00264-PGS     Document 122     Filed 07/09/08       Page 1 of 3 PageID: 2082



2006R00751/BAH




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA                     Hon.    Peter G.       Sheridan

             v.                      :       Crim.   No.     07-264     (PGS)

CLIPPER WONSILD TANKERS                      18   U.S.C.     §    371
HOLDING A/S, CLIPPER MARINE                  33   U.S.C.     §    1908(a)
SERVICES A/S, and TROJAN                     18   U.S.C.     §    1001
SHIPPING CO., LTD.                   :       18   U.S.C.     §    1505
                                             18   U.S.C.     §    1519
                                             18   U.S.C.     §    2


                                          ORDER

             This matter having been opened to the Court on the

motion of Christopher J.       Christie,     United States Attorney for the

District of New Jersey        (by Bradley A.      Harsch,        Assistant U.S.

Attorney,    appearing);    and defendant CLIPPER MARINE SERVICES A/S

having pleaded guilty on June 19,           2008 to Counts 1,          2 and 3 of

the Indictment;    and Count 2 of the Indictment having charged a

violation of The Act to Prevent Pollution From Ships                     (“APPS”)

Title 33,    United States Code Sections 1901,             et seq.;      and $1.3

million of the total fine of $3.25 million having been

apportioned to the APPS charge in Count 2 of the Indictment;                           and

Section 1908(a)    of APPS having granted a Court discretion to

issue a monetary award of up to one half of any criminal                        fine

imposed to those who provide information which leads to a

conviction under the Act;       and the United States having shown to
                                             _______




Case 2:07-cr-00264-PGS   Document 122   Filed 07/09/08    Page 2 of 3 PageID: 2083



the satisfaction of this Court that certain former crew members

of   the M/T Clipper Trojan deserve a reward under APPS;            and for

good cause shown;

             IT IS,   therefore,   on this             day of July,    2008,

             ORDERED that the government’s motion is granted;            and it

is further

             ORDERED that pursuant to Title 33,          United States Code,

Section 1908(a),      a total of $650,000     is awarded to certain former

crew members of the M/T Clipper Trojan as specified in the table

below:


 Crew Member                                 Award

 Danilo Sibug                                $175,000

 Sol Yeban                                   $175,000

 Martin Macuto                               $175,000

 Pablito Tolentino                           $50,000

 Marconilo Lajara                            $50,000

 Romeo Camilon                               $25,000

 TOTAL                                       $650,000


and it is further
            CD                   C!)            f-I
                   f-I-   pi     Lii
            CD     f-t    k<     ii      U)     CD
                   0      Pi
                                 H              C)
            CD            H      C)             0
                   CD     CD     LII
            f-I-   -<            C’:)
                          f-I-                  f-I
            p      CD     0       ‘:     0
            f-I-                 —.             H      C)
                   0      f-I-   I-i)           I      I
            f-t    M-            -.      I      0      d
            J      -h
                   I      CD             CD     5      LII
            CD     H-            f-I-    0
                   ()     H-             CD     f-I-   LII
            C)     CD            CD      H-            d
                                                CD
                                                              Case 2:07-cr-00264-PGS




            CD     I-h    H-     C)      f-I-          f-I
            C)     0      <      H              1-h
                   I-j    H-     CD      0      H-     )J
            CD                   ”
                                 I       1—h           f-I
                   f-I-   i                     CD
                                         f-I-          f-I
            I-’    CD     H       0
            CD            CD      M      CD     Pi     CD
                                                H
                   H-     CD      f-I-   -Ih
            H-     CD              J      H-           5
            CD     ft     CD      CD            tY     0
                   h      C)             CD     -<     i
                                                       I
                                                              Document 122




                   H-     H-      C)
            ’
            I      C)     -h
                          I       0      t5     Q      f-I-
            CD     f-I-   H-              1)    CD
            CD            CD      1-1    <      -h
                                                I      H
            Cl     0      Cl      f-I-   S      CD     CD
jQ                 I—h                   CD
            f-t           W       CD            Cl     f-I
f-I-.       0      Z      tY             f-I-   I)     0
CD                 CD     0       J
            f-I-          <       H      t
                                         I      f-I
     LII>                 CD      H      I-            CD
            CD     C
                   4                     0      C)
f-I-L’I(           CD     f-I-    rI-    5
                                                              Filed 07/09/08




            CI)    I-     0       h             H      CD
f-I- Z             CD             CI)    C)     Ci     H
CDQ—        CD     CD     f-I-                         Cl
CD      )   l-     -<             CD     H      LII
                   -      CD      S      ‘d
C’ICF) C    CD                    H-     ti
H-          CD                    f-I-   LII
CDLII’      CD                                         f-I-
                   H-     H-      C)            I
                   C)     f-I-                  H      CD
H-d’                      CD      CD
                          Q       C)      zI    LII    C)
f-tzc              CD                     H            H
        (                 C/)     CD            C!)    CD
q                  CI)    f-I-            LII   LII    II
                   H      )
Cl                 H      ft
                          CD                    H      0
CD                        CD                    C)     -h
                                                       I
                                                LII
                                                C/S)
                                                              Page 3 of 3 PageID: 2084
